    Case 18-91144-AKM-7A                         Doc 17          Filed 09/27/19               EOD 09/27/19 10:38:06                       Pg 1 of 9




                                          UNITED STATES BANKRUPTCY COURT
                                            SOUTHERN DISTRICT OF INDIANA
                                                NEW ALBANY DIVISION

In re:                                                                 §      Case No. 18-91144-AKM-7
                                                                       §
JEREMY DALE HOELTKE                                                    §
                                                                       §
                                                                       §
                            Debtor                                     §

                                               TRUSTEE’S FINAL REPORT (TFR)

The undersigned trustee hereby makes this Final Report and states as follows:

     1. A petition under chapter 7 of the United States Bankruptcy Code was filed on 08/03/2018. The
        undersigned trustee was appointed on 08/03/2018.

     2. The trustee faithfully and properly fulfilled the duties enumerated in 11 U.S.C. § 704.

     3. All scheduled and known assets of the estate have been reduced to cash, released to the debtor
        as exempt property pursuant to 11 U.S.C. § 522, or have been or will be abandoned pursuant to
        11 U.S.C. § 554. An individual estate property record and report showing the disposition of all
        property of the estate is attached as Exhibit A.

      4.         The trustee realized gross receipts of                                                                              $4,845.00

                          Funds were disbursed in the following amounts:

                          Payments made under an interim distribution                                                                    $0.00
                          Administrative expenses                                                                                        $0.00
                          Bank service fees                                                                                              $0.00
                          Other Payments to creditors                                                                                    $0.00
                          Non-estate funds paid to 3rd Parties                                                                           $0.00
                          Exemptions paid to the debtor                                                                              $1,899.88
                          Other payments to the debtor                                                                                   $0.00

                          Leaving a balance on hand of1                                                                              $2,945.12

           The remaining funds are available for distribution.

     5. Attached as Exhibit B is a cash receipts and disbursements record for each estate bank account.


1
  The balance on funds on hand in the estate may continue to earn interest until disbursed. The interest earned prior to disbursements will be distributed
pro rata to creditors within each priority category. The trustee may receive additional compensation not to exceed the maximum compensation set forth
under 11 U.S.C. § 326(a) on account of the disbursement of the additional interest.

UST Form 101-7-TFR (5/1/2011)
    Case 18-91144-AKM-7A                         Doc 17          Filed 09/27/19               EOD 09/27/19 10:38:06                       Pg 2 of 9

     6. The deadline for filing non-governmental claims in this case was 01/22/2019 and the deadline
        for filing government claims was 01/30/2019. All claims of each class which will receive a
        distribution have been examined and any objections to the allowance of claims have been
        resolved. If applicable, a claims analysis, explaining why payment on any claim is not being
        made, is attached as Exhibit C.

     7. The Trustee’s proposed distribution is attached as Exhibit D.

     8. Pursuant to 11 U.S.C. § 326(a), the maximum compensation allowable to the trustee is $736.28.
        To the extent that additional interest is earned before case closing, the maximum compensation
        may increase.

        The trustee has received $0.00 as interim compensation and now requests the sum of $736.28,
for a total compensation of $736.282. In addition, the trustee received reimbursement for reasonable
and necessary expenses in the amount of $0.00, and now requests reimbursement for expenses of
$86.52, for total expenses of $86.52.

        Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the foregoing
report is true and correct.

Date: 08/05/2019                                                         By:       /s/ Charity S. Bird
                                                                                   Trustee

STATEMENT: This Uniform form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act exemption 5 C.F.R.
§ 1320.4(a)(2) applies.




2
 If the estate is administratively insolvent, the dollar amounts reflected in this paragraph may be higher than the amounts listed in the Trustee’s Proposed
Distribution (Exhibit D).

UST Form 101-7-TFR (5/1/2011)
                                        Case 18-91144-AKM-7A                    Doc 17            Filed 09/27/19
                                                                                                      FORM 1                  EOD 09/27/19 10:38:06                  Pg 3 of 9
                                                                       INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                             Page No:    1               Exhibit A
                                                                                        ASSET CASES

Case No.:                   18-91144-AKM                                                                                                              Trustee Name:                               Charity S. Bird
Case Name:                  HOELTKE, JEREMY DALE                                                                                                      Date Filed (f) or Converted (c):            08/03/2018 (f)
For the Period Ending:      8/5/2019                                                                                                                  §341(a) Meeting Date:                       09/12/2018
                                                                                                                                                      Claims Bar Date:                            01/22/2019

                                1                                          2                                3                                 4                        5                                            6

                        Asset Description                                Petition/                   Estimated Net Value                   Property               Sales/Funds               Asset Fully Administered (FA)/
                         (Scheduled and                                Unscheduled                  (Value Determined by                   Abandoned              Received by              Gross Value of Remaining Assets
                    Unscheduled (u) Property)                             Value                            Trustee,                  OA =§ 554(a) abandon.         the Estate
                                                                                                   Less Liens, Exemptions,
                                                                                                      and Other Costs)

 Ref. #
1       1995 GMC Sierra 1500 216000 miles                                       $424.00                                      $0.00                                          $0.00                                            FA
2       Household goods and furnishings                                         $800.00                                      $0.00                                          $0.00                                            FA
3       Sports equipment, cameras, bicycles and other                           $300.00                                      $0.00                                          $0.00                                            FA
        hobby equipment
4       Wearing Apparel                                                         $400.00                                      $0.00                                          $0.00                                            FA
5       Jewelry                                                                  $50.00                                      $0.00                                          $0.00                                            FA
6       Cash on hand                                                             $20.00                                      $0.00                                          $0.00                                            FA
7       Checking Account Centra Credit Union                                    $100.00                                      $0.00                                          $0.00                                            FA
8       Savings Account Centra Credit Union                                      $10.00                                      $0.00                                          $0.00                                            FA
9       State Farm child                                                        $200.00                                      $0.00                                          $0.00                                            FA
10      2018 Prorated Federal Tax Refund                         (u)           $2,236.00                              $2,236.00                                        $4,845.00                                             FA


TOTALS (Excluding unknown value)                                                                                                                                                                Gross Value of Remaining Assets
                                                                               $4,540.00                              $2,236.00                                         $4,845.00                                       $0.00




     Major Activities affecting case closing:
      06/12/2019     Ready for TFR review
      05/08/2019     Refunded Debtor Exemption


 Initial Projected Date Of Final Report (TFR):          06/30/2019                         Current Projected Date Of Final Report (TFR):          08/30/2019               /s/ CHARITY S. BIRD
                                                                                                                                                                           CHARITY S. BIRD
                                           Case 18-91144-AKM-7A      Doc 17           Filed 09/27/19
                                                                                          FORM   2            EOD 09/27/19 10:38:06                      Pg 4 ofPage
                                                                                                                                                                  9 No: 1                   Exhibit B
                                                                  CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                            18-91144-AKM                                                                                 Trustee Name:                         Charity S. Bird
 Case Name:                          HOELTKE, JEREMY DALE                                                                         Bank Name:                            Independent Bank
Primary Taxpayer ID #:               **-***7412                                                                                   Checking Acct #:                      ******1144
Co-Debtor Taxpayer ID #:                                                                                                          Account Title:
For Period Beginning:                8/3/2018                                                                                     Blanket bond (per case limit):        $48,364,291.00
For Period Ending:                   8/5/2019                                                                                     Separate bond (if applicable):

       1                2                                3                                            4                                                   5                 6                      7

   Transaction       Check /                         Paid to/             Description of Transaction                               Uniform           Deposit          Disbursement               Balance
      Date            Ref. #                      Received From                                                                   Tran Code            $                   $


03/28/2019                     IRS                                2018 federal tax refund intercept                                    *                $4,845.00                                      $4,845.00
                      {10}                                        Estate portion of federal tax refund               $2,945.12     1224-000                                                          $4,845.00
                      {10}                                        Debtor's portion of federal tax refund             $1,899.88     1280-000                                                          $4,845.00
04/29/2019           1001      JEREMY HOELTKE                     Debtor's exemption from 2018 tax returns                         8100-002                                     $1,899.88            $2,945.12

                                                                                     TOTALS:                                                            $4,845.00               $1,899.88            $2,945.12
                                                                                         Less: Bank transfers/CDs                                           $0.00                   $0.00
                                                                                     Subtotal                                                           $4,845.00               $1,899.88
                                                                                         Less: Payments to debtors                                          $0.00               $1,899.88
                                                                                     Net                                                                $4,845.00                   $0.00



                     For the period of 8/3/2018 to 8/5/2019                                                    For the entire history of the account between 03/28/2019 to 8/5/2019

                     Total Compensable Receipts:                    $4,845.00                                  Total Compensable Receipts:                                  $4,845.00
                     Total Non-Compensable Receipts:                    $0.00                                  Total Non-Compensable Receipts:                                  $0.00
                     Total Comp/Non Comp Receipts:                  $4,845.00                                  Total Comp/Non Comp Receipts:                                $4,845.00
                     Total Internal/Transfer Receipts:                  $0.00                                  Total Internal/Transfer Receipts:                                $0.00


                     Total Compensable Disbursements:                   $0.00                                  Total Compensable Disbursements:                                 $0.00
                     Total Non-Compensable Disbursements:           $1,899.88                                  Total Non-Compensable Disbursements:                         $1,899.88
                     Total Comp/Non Comp Disbursements:             $1,899.88                                  Total Comp/Non Comp Disbursements:                           $1,899.88
                     Total Internal/Transfer Disbursements:             $0.00                                  Total Internal/Transfer Disbursements:                           $0.00
                                        Case 18-91144-AKM-7A        Doc 17        Filed 09/27/19
                                                                                      FORM   2      EOD 09/27/19 10:38:06                    Pg 5 ofPage
                                                                                                                                                      9 No: 2                   Exhibit B
                                                                  CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                         18-91144-AKM                                                                          Trustee Name:                         Charity S. Bird
Case Name:                       HOELTKE, JEREMY DALE                                                                  Bank Name:                            Independent Bank
Primary Taxpayer ID #:           **-***7412                                                                            Checking Acct #:                      ******1144
Co-Debtor Taxpayer ID #:                                                                                               Account Title:
For Period Beginning:            8/3/2018                                                                              Blanket bond (per case limit):        $48,364,291.00
For Period Ending:               8/5/2019                                                                              Separate bond (if applicable):

      1                 2                                3                                     4                                             5                   6                     7

  Transaction        Check /                         Paid to/          Description of Transaction                       Uniform           Deposit          Disbursement              Balance
     Date             Ref. #                      Received From                                                        Tran Code            $                   $




                                                                                                                                                                     NET               ACCOUNT
                                                                                 TOTAL - ALL ACCOUNTS                           NET DEPOSITS                    DISBURSE              BALANCES

                                                                                                                                          $4,845.00              $1,899.88               $2,945.12




                     For the period of 8/3/2018 to 8/5/2019                                         For the entire history of the case between 08/03/2018 to 8/5/2019

                     Total Compensable Receipts:                   $4,845.00                        Total Compensable Receipts:                                 $4,845.00
                     Total Non-Compensable Receipts:                   $0.00                        Total Non-Compensable Receipts:                                 $0.00
                     Total Comp/Non Comp Receipts:                 $4,845.00                        Total Comp/Non Comp Receipts:                               $4,845.00
                     Total Internal/Transfer Receipts:                 $0.00                        Total Internal/Transfer Receipts:                               $0.00


                     Total Compensable Disbursements:                  $0.00                        Total Compensable Disbursements:                                $0.00
                     Total Non-Compensable Disbursements:          $1,899.88                        Total Non-Compensable Disbursements:                        $1,899.88
                     Total Comp/Non Comp Disbursements:            $1,899.88                        Total Comp/Non Comp Disbursements:                          $1,899.88
                     Total Internal/Transfer Disbursements:            $0.00                        Total Internal/Transfer Disbursements:                          $0.00




                                                                                                                    /s/ CHARITY S. BIRD
                                                                                                                    CHARITY S. BIRD
                                    Case 18-91144-AKM-7A                Doc 17CLAIM
                                                                                 Filed 09/27/19 EOD 09/27/19 10:38:06
                                                                                    ANALYSIS REPORT
                                                                                                                                            Pg Page
                                                                                                                                                6 ofNo:91                Exhibit C


 Case No.                      18-91144-AKM                                                                                 Trustee Name:              Charity S. Bird
 Case Name:                    HOELTKE, JEREMY DALE                                                                         Date:                      8/5/2019
 Claims Bar Date:              01/22/2019

Claim               Creditor Name      Claim           Claim Class       Claim    Uniform     Scheduled     Claim        Amount        Amount           Interest         Tax            Net
No.:                                    Date                            Status    Tran Code   Amount        Amount       Allowed        Paid                                         Remaining
                                                                                                                                                                                      Balance

        CHARITY S. BIRD              06/02/2019   Trustee Expenses      Allowed   2200-000         $0.00       $86.52       $86.52             $0.00         $0.00          $0.00        $86.52
        P.O. Box 81
        New Albany IN 47151
        CHARITY S. BIRD              08/05/2019   Trustee               Allowed   2100-000         $0.00      $736.28      $736.28             $0.00         $0.00          $0.00       $736.28
                                                  Compensation
         P.O. Box 81
         New Albany IN 47151
    1   CAPITAL ONE BANK             11/16/2018   General Unsecured §   Allowed   7100-000      $2,192.00    $2,192.54    $2,192.54            $0.00         $0.00          $0.00     $2,192.54
        (USA), N.A.                               726(a)(2)
         PO Box 71083
         Charlotte NC 28272-1083
    2   IMC CREDIT SERVICES,         01/22/2019   General Unsecured §   Allowed   7100-000      $5,389.42    $4,750.17    $4,750.17            $0.00         $0.00          $0.00     $4,750.17
        LLC.                                      726(a)(2)
         PO BOX 20636
         INDIANAPOLIS IN 46220
                                                                                                             $7,765.51    $7,765.51            $0.00         $0.00         $0.00      $7,765.51
                                    Case 18-91144-AKM-7A   Doc 17CLAIM
                                                                    Filed 09/27/19 EOD 09/27/19 10:38:06
                                                                       ANALYSIS REPORT
                                                                                                                             Pg Page
                                                                                                                                 7 ofNo:92                Exhibit C


Case No.                      18-91144-AKM                                                                   Trustee Name:              Charity S. Bird
Case Name:                    HOELTKE, JEREMY DALE                                                           Date:                      8/5/2019
Claims Bar Date:              01/22/2019


      CLAIM CLASS SUMMARY TOTALS

                                           Claim Class             Claim        Amount       Amount                   Interest               Tax                 Net
                                                                   Amount       Allowed       Paid                                                            Remaining
                                                                                                                                                               Balance


           General Unsecured § 726(a)(2)                            $6,942.71    $6,942.71           $0.00                    $0.00              $0.00            $6,942.71

           Trustee Compensation                                      $736.28       $736.28           $0.00                    $0.00              $0.00                $736.28

           Trustee Expenses                                           $86.52        $86.52           $0.00                    $0.00              $0.00                 $86.52
Case 18-91144-AKM-7A               Doc 17      Filed 09/27/19       EOD 09/27/19 10:38:06          Pg 8 of 9



                                                                                              Exhibit D
                                TRUSTEE’S PROPOSED DISTRIBUTION

Case No.:           18-91144-AKM-7
Case Name:          JEREMY DALE HOELTKE
Trustee Name:       Charity S. Bird

                                                               Balance on hand:                    $2,945.12


         Claims of secured creditors will be paid as follows: NONE



                                           Total to be paid to secured creditors:                      $0.00
                                                            Remaining balance:                     $2,945.12

         Applications for chapter 7 fees and administrative expenses have been filed as follows:

Reason/Applicant                                                    Total          Interim          Proposed
                                                                Requested       Payments to         Payment
                                                                                      Date
Charity S. Bird, Trustee Fees                                      $736.28            $0.00            $736.28
Charity S. Bird, Trustee Expenses                                   $86.52            $0.00               $86.52


                          Total to be paid for chapter 7 administrative expenses:                    $822.80
                                                             Remaining balance:                    $2,122.32

         Applications for prior chapter fees and administrative expenses have been filed as follows:
NONE



                       Total to be paid to prior chapter administrative expenses:                      $0.00
                                                             Remaining balance:                    $2,122.32

         In addition to the expenses of administration listed above as may be allowed by the Court,
priority claims totaling $0.00 must be paid in advance of any dividend to general (unsecured) creditors.

         Allowed priority claims are: NONE



                                              Total to be paid to priority claims:                     $0.00
                                                             Remaining balance:                    $2,122.32

        The actual distribution to wage claimants included above, if any, will be the proposed payment
less applicable withholding taxes (which will be remitted to the appropriate taxing authorities).



UST Form 101-7-TFR (5/1/2011)
Case 18-91144-AKM-7A                  Doc 17      Filed 09/27/19      EOD 09/27/19 10:38:06      Pg 9 of 9




        Timely claims of general (unsecured) creditors totaling $6,942.71 have been allowed and will be
paid pro rata only after all allowed administrative and priority claims have been paid in full. The timely
allowed general (unsecured) dividend is anticipated to be 30.6 percent, plus interest (if applicable).

         Timely allowed general (unsecured) claims are as follows:

Claim No. Claimant                                             Allowed Amt.          Interim       Proposed
                                                                    of Claim      Payments to       Amount
                                                                                        Date
           1 Capital One Bank (USA), N.A.                          $2,192.54            $0.00        $670.24
           2 IMC CREDIT SERVICES, LLC.                             $4,750.17            $0.00      $1,452.08


                                Total to be paid to timely general unsecured claims:              $2,122.32
                                                                Remaining balance:                    $0.00

        Tardily filed claims of general (unsecured) creditors totaling $0.00 have been allowed and will be
paid pro rata only after all allowed administrative, priority and timely filed general (unsecured) claims
have been paid in full. The tardily filed claim dividend is anticipated to be 0.0 percent, plus interest (if
applicable).

         Tardily filed general (unsecured) claims are as follows: NONE



                       Total to be paid to tardily filed general unsecured claims:                    $0.00
                                                              Remaining balance:                      $0.00

        Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims ordered
subordinated by the Court totaling $0.00 have been allowed and will be paid pro rata only after all
allowed administrative, priority and general (unsecured) claims have been paid in full. The dividend for
subordinated unsecured claims is anticipated to be 0.0 percent, plus interest (if applicable).

        Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims ordered
subordinated by the Court are as follows: NONE



                                           Total to be paid for subordinated claims:                  $0.00
                                                                 Remaining balance:                   $0.00




UST Form 101-7-TFR (5/1/2011)
